             Case 2:04-cr-00205-GEB Document 243 Filed 01/12/06 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    MARY L. GRAD
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2763
5
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7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )       CR. S-04-205-GEB
                                         )
12                     Plaintiff,        )       STIPULATION AND ORDER
                                         )       CONTINUING HEARING ON MOTION
13                                       )       TO SUPPRESS EVIDENCE
            v.                           )
14                                       )
     CHHOM MAO,                          )
15                                       )
                       Defendant.        )
16                                       )
17          Defendant Chhom Mao has filed a motion to suppress evidence
18   scheduled for hearing before the court on January 20, 2006 at 9:00
19   a.m.    The parties agree and stipulate that this hearing be continued
20   until February 3, 2006 at 9:00 a.m.          Government counsel is not
21   available on January 20, 2006.
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23   ///
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1         The case has been set for trial on April 11, 2006 with an
2    exclusion of time under the Speedy Trial Act until that date.
3
4                                                 McGREGOR W. SCOTT
                                                  United States Attorney
5
6    DATED: January 10, 2006                By     /s/ Mary L. Grad
                                                  MARY L. GRAD
7                                                 Assistant U.S. Attorney
8
                                                  /S/ Timothy Warriner
9                                                 TIMOTHY WARRINER
                                                  Counsel for Rodney Butler
10
          IT IS SO ORDERED.
11
     Dated:     January 11, 2006
12
13                                                /s/ Garland E. Burrell, Jr.
                                                  GARLAND E. BURRELL, JR.
14                                                United States District Judge
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